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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

  E. JEAN CARROLL,                                    Civil Action No.: 1:20-cv-7311-LAK-JLC
                         Plaintiff,
         v.
                                                       NOTICE OF DEFENDANT’S MOTION
  DONALD J. TRUMP, in his personal capacity,          FOR LEAVE TO AMEND HIS ANSWER
                                                        PURSUANT TO FRCP RULE 15(a)
                         Defendant.



       PLEASE TAKE NOTICE that the defendant, Donald J. Trump (“Defendant”), hereby

moves, pursuant to Fed. R. Civ. P. 15(a) and Local Civil Rule 7.1, for an order granting leave for

Defendant to amend his Answer. This motion is supported by the annexed memorandum of law,

affirmation of Alina Habba, Esq. dated December 1, 2021, any arguments or evidence presented

in reply, and all arguments or evidence presented at a hearing or with leave of Court.

                                                     Respectfully submitted,

Dated: December 1, 2021.                             ___________________________
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